CASE SES-EV-BGSGEN DOGUMEAS eBRHHS? Phaas tO fh age! 58,
AO 440 (Rev. 12/09) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Doe
Plaintiff

V.

 

Civil Action No. 3:23-cv-00508-N

Backpage.com LLC et al

Defendant

 

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Summons in a Civil Action

TO: Scott Spear

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff's attorney, whose name and address are:

Lannie Kelly
11606 N IH-35
Austin , TX 78753

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

Came to hand on 03-10-2023 @ 12:25 P.M.

DRLS
516 West Annie St.
Austin, Texas 78704

2300-le

 

Dae ssn  =s RETURN
ATTACHED

  
Case 3:23-cv-00508-N Document 6 Filed 03/16/23 Page 2of2 PagelD 56

UNITED STATES DISTRICT COURT
for the Northern District of Texas

‘Doe

§
Plaintiff §
§.
v. § Civil Action No. 3:23-cv-00508-N
§
Backpage.com LLC et al § PROOF OF SERVICE AFFIDAVIT
Defendants

Before me, the undersigned authority, personally appeared Tonya Arruda, to me well known,
after being duly sworn, did depose and say:

“My name is Tonya Arruda. I am not less than eighteen (18) years of age and not a party to or interested
in the outcome of the above styled and numbered suit.

Came to hand on the 10th day of March, 2023, at 12:25 p.-m., Summons In A Civil Action with
Plaintiff's Original Complaint attached, for service on Scott Spear, Defendant.

Executed by me on the 13th day of March 2023, at 11:02 a.m., by delivering in person to Scott
Spear, at 1225 E Avenida Hermonsa, Phoenix, Arizona 85014-2911.

I declare under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Return of Service and Statement of Service Fees is true and correct.”

 

LE 5
Printed Name: _ Tgnya Arruda \ ~
Signature of non-party adult - DRLS
Service Fee$ 144.00 516 W. Annie Street, Austin, Texas 78704

re: 2300-6/Carlson

VERIFICATION
STATE OF ARIZONA

Before me, a notary public, on this day personally appeared the above-named person, known to me to be
the person whose name is subscribed to the foregoing document and, being by me first duly sworn,
declared that the statements/facts therein contained are within his/her personal knowledge to be true and
correct. Given under my hand and seal of office on the { gr day of March 2023.

 

 

QPL ZLV ALLL
OFFICIAL SEAL
>, CRAIG PODGURSKI JR
NOTARY PUBLIC - ARIZONA
ARIZONA COUNTY
= COMM # 593983
My Comm. Expires 12/15/2024

   
       
     
   
